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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admitted pro hac vice)

    ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC,1                                            Case No.: 21-30589

                                Debtor.                             Judge: Michael B. Kaplan

                                                                    Hearing Date and Time:
                                                                    August 23, 2022 at 10:00 a.m.

            THIRD ORDER EXTENDING THE EXCLUSIVE PERIODS TO FILE
        A PLAN OF REORGANIZATION AND SOLICIT ACCEPTANCES THEREOF

                     The relief set forth on the following pages is hereby ORDERED.




1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.

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Solicit Acceptances Thereof


                 This matter coming before the Court on the Debtor’s Third Motion for an Order

Extending the Exclusive Periods to File a Plan of Reorganization and Solicit Acceptances

Thereof (the “Motion”),1 filed by the above-captioned debtor (the “Debtor”); the Court having

reviewed the Motion and having heard the statements of counsel and evidence adduced with

respect to the Motion at a hearing before the Court (the “Hearing”); the Court having found that

(a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) venue

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (c) this is a core proceeding

pursuant to 28 U.S.C. § 157(b); and (d) cause exists within the meaning of section 1121(d) of the

Bankruptcy Code for the extension of the Exclusive Periods granted herein; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein;

                 IT IS HEREBY ORDERED THAT:

                 1.      The Motion is GRANTED.

                 2.      The Exclusive Filing Period is hereby extended through and including the

first business day that is 30 days after the filing of a report by the Court Expert pursuant to

section 1121(d) of the Bankruptcy Code.

                 3.      The Exclusive Solicitation Period is hereby extended for 60 days after the

end of the Exclusive Filing Period pursuant to section 1121(d) of the Bankruptcy Code.



1
        Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.

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                 4.    The extensions of the Exclusive Periods in this Order are without

prejudice to the Debtor’s right to seek further extensions of these periods.

                 5.    This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the interpretation, implementation or enforcement of this Order.




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